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                         EXHIBIT 13
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From:                           Maxim Price <mprice@hechtpartners.com>
Sent:                           Tuesday, April 21, 2020 9:29 AM
To:                             Wetzel, Joseph (Bay Area); Maxim Price; Nightingale Dawson, Elana (DC); Stebbins
                                Bina, Jessica (CC); Damle, Sy (DC); Homer, Carolyn (DC); Gross, Gabriel (Bay Area)
Cc:                             mgoldberg@lashgoldberg.com; epincow@lashgoldberg.com;
                                Michael.Boehringer@csklegal.com; Lizza.Constantine@csklegal.com; Minyao Wang;
                                ggaukroger@bergersingerman.com; David Hecht; Jonathan.Vine@csklegal.com;
                                Justin.Levine@csklegal.com
Subject:                        Re: Apple Inc. v. Corellium, LLC - Expert Deposition Notices

Follow Up Flag:                 Follow up
Flag Status:                    Flagged



That would be acceptable to Corellium. We'll be on the lookout for an amended notice? Let me know if you'd
like to formalize the agreement with respect to the supplemental report extension in a stip or if this email is
sufficient.

Best,
-Max

Maxim Price
Partner
Hecht Partners LLP

From: Joe.Wetzel@lw.com <Joe.Wetzel@lw.com>
Sent: Monday, April 20, 2020 11:45 PM
To: Maxim Price <mprice@hechtpartners.com>; Elana.NightingaleDawson@lw.com
<Elana.NightingaleDawson@lw.com>; Jessica.StebbinsBina@lw.com <Jessica.StebbinsBina@lw.com>;
Sy.Damle@lw.com <Sy.Damle@lw.com>; Carolyn.Homer@lw.com <Carolyn.Homer@lw.com>; Gabe.Gross@lw.com
<Gabe.Gross@lw.com>
Cc: mgoldberg@lashgoldberg.com <mgoldberg@lashgoldberg.com>; epincow@lashgoldberg.com
<epincow@lashgoldberg.com>; Michael.Boehringer@csklegal.com <Michael.Boehringer@csklegal.com>;
Lizza.Constantine@csklegal.com <Lizza.Constantine@csklegal.com>; Minyao Wang <mwang@hechtpartners.com>;
ggaukroger@bergersingerman.com <ggaukroger@bergersingerman.com>; David Hecht <dhecht@hechtpartners.com>;
Jonathan.Vine@csklegal.com <Jonathan.Vine@csklegal.com>; Justin.Levine@csklegal.com
<Justin.Levine@csklegal.com>
Subject: RE: Apple Inc. v. Corellium, LLC - Expert Deposition Notices

We can make this work if Corellium will agree to a corresponding one-day extension to serve the Siegel
rebuttal report.

From: Maxim Price <mprice@hechtpartners.com>
Sent: Apr 20, 2020 12:51 PM
To: "Nightingale Dawson, Elana (DC)" <Elana.NightingaleDawson@lw.com>; "Stebbins Bina, Jessica (CC)"
<Jessica.StebbinsBina@lw.com>; "Damle, Sy (DC)" <Sy.Damle@lw.com>; "Homer, Carolyn (DC)"
<Carolyn.Homer@lw.com>; "Wetzel, Joseph (Bay Area)" <Joe.Wetzel@lw.com>; "Gross, Gabriel (Bay Area)"
<Gabe.Gross@lw.com>
                                                         1
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Cc: mgoldberg@lashgoldberg.com; epincow@lashgoldberg.com; Michael.Boehringer@csklegal.com;
Lizza.Constantine@csklegal.com; Minyao Wang <mwang@hechtpartners.com>;
ggaukroger@bergersingerman.com; David Hecht <dhecht@hechtpartners.com>; Jonathan.Vine@csklegal.com;
Justin.Levine@csklegal.com
Subject: Re: Apple Inc. v. Corellium, LLC - Expert Deposition Notices

Counsel,

Due to a change in Mr. Stamos's schedule, he has requested that his deposition be moved by one day to April
24th. Please let me know if that is acceptable.

Best,
-Maxim Price

From: Elana.NightingaleDawson@lw.com <Elana.NightingaleDawson@lw.com>
Sent: Saturday, April 4, 2020 10:08 AM
To: Lizza.Constantine@csklegal.com <Lizza.Constantine@csklegal.com>; Justin.Levine@csklegal.com
<Justin.Levine@csklegal.com>; Jonathan.Vine@csklegal.com <Jonathan.Vine@csklegal.com>;
Michael.Boehringer@csklegal.com <Michael.Boehringer@csklegal.com>; David Hecht <dhecht@hechtpartnersllp.com>;
Maxim Price <mprice@hechtpartnersllp.com>; Minyao Wang <mwang@hechtpartnersllp.com>;
ggaukroger@bergersingerman.com <ggaukroger@bergersingerman.com>
Cc: mgoldberg@lashgoldberg.com <mgoldberg@lashgoldberg.com>; epincow@lashgoldberg.com
<epincow@lashgoldberg.com>; Gabe.Gross@lw.com <Gabe.Gross@lw.com>; Sy.Damle@lw.com <Sy.Damle@lw.com>;
Jessica.StebbinsBina@lw.com <Jessica.StebbinsBina@lw.com>; Joe.Wetzel@lw.com <Joe.Wetzel@lw.com>;
Carolyn.Homer@lw.com <Carolyn.Homer@lw.com>
Subject: RE: Apple Inc. v. Corellium, LLC - Expert Deposition Notices

Counsel,

Please find attached the amended deposition notice for James Olivier. As noted below, should it be necessary, we are
available to confer regarding scheduling.

Thank you.
Elana


Elana Nightingale Dawson | LATHAM & WATKINS LLP
Tel: 202-637-2303 | Fax: 202-637-2201

From: Nightingale Dawson, Elana (DC)
Sent: Saturday, April 4, 2020 12:00 AM
To: 'Lizza C. Constantine' <Lizza.Constantine@csklegal.com>; 'Justin B. Levine' <Justin.Levine@csklegal.com>; 'Jonathan
Vine' <Jonathan.Vine@csklegal.com>; 'Michael Boehringer' <Michael.Boehringer@csklegal.com>;
'dhecht@hechtpartnersllp.com' <dhecht@hechtpartnersllp.com>; 'mprice@hechtpartnersllp.com'
<mprice@hechtpartnersllp.com>; 'mwang@hechtpartnersllp.com' <mwang@hechtpartnersllp.com>;
'ggaukroger@bergersingerman.com' <ggaukroger@bergersingerman.com>
Cc: 'mgoldberg@lashgoldberg.com' <mgoldberg@lashgoldberg.com>; 'epincow@lashgoldberg.com'
<epincow@lashgoldberg.com>; Gross, Gabriel (Bay Area) <Gabe.Gross@lw.com>; Damle, Sy (DC) <Sy.Damle@lw.com>;
Stebbins Bina, Jessica (CC) <Jessica.StebbinsBina@lw.com>; Wetzel, Joseph (Bay Area) <Joe.Wetzel@lw.com>; Homer,
Carolyn (DC) <Carolyn.Homer@lw.com>
Subject: Apple Inc. v. Corellium, LLC - Expert Deposition Notices
                                                           2
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Counsel,

Please find amended deposition notices for Clark Asay, Stewart Appelrouth, and Alexander Stamos. We will provide an
amended notice for James Olivier tomorrow. Should it be necessary, we are available to confer regarding scheduling.

Thank you.
Elana


Elana Nightingale Dawson | LATHAM & WATKINS LLP
555 Eleventh St., NW Suite 1000 | Washington, DC 20004
Tel: 202-637-2303 | Fax: 202-637-2201 | http://www.lw.com


_________________________________

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From:                            Nightingale Dawson, Elana (DC)
Sent:                            Tuesday, April 21, 2020 1:28 PM
To:                              Maxim Price; Michael.Boehringer@csklegal.com; Lizza.Constantine@csklegal.com;
                                 Minyao Wang; David Hecht; Jonathan.Vine@csklegal.com; Justin.Levine@csklegal.com
Cc:                              mgoldberg@lashgoldberg.com; epincow@lashgoldberg.com; Wetzel, Joseph (Bay
                                 Area); Stebbins Bina, Jessica (CC); Damle, Sy (DC); Homer, Carolyn (DC); Gross, Gabriel
                                 (Bay Area)
Subject:                         Apple Inc. v. Corellium, LLC - Second Amended Dep. Notice for Alexander Stamos
Attachments:                     2020.04.21 - A. Stamos Second Amended Deposition Notice.pdf


Counsel,

Please find attached the second amended deposition notice for Alexander Stamos.

Thank you.
Elana


Elana Nightingale Dawson | LATHAM & WATKINS LLP
555 Eleventh St., NW Suite 1000 | Washington, DC 20004
Tel: 202-637-2303 | Fax: 202-637-2201 | http://www.lw.com




                                                           1
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       Case No. 9:19-cv-81160-RS




    APPLE INC.,

                                 Plaintiff,

           v.

    CORELLIUM, LLC,

                               Defendant.



        SECOND AMENDED NOTICE OF DEPOSITION OF ALEXANDER STAMOS

          PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 30, Plaintiff

   Apple Inc. (“Apple” or “Plaintiff”), by its undersigned counsel, will take the deposition of

   Alexander Stamos on April 24, 2020 commencing at 9:00am PT, from the location of the

   deponent’s choice via video conferencing technology, as contemplated in the Court’s Order at

   ECF No. 248. If the deposition is not completed on the date set out above, the taking of the

   deposition will continue from day to day thereafter until completed.

          PLEASE TAKE FURTHER NOTICE that pursuant to Rule 30(b)(3), the deposition will

   be taken before a notary public or other officer authorized by law to administer oaths, will be

   recorded by stenographic and audiovisual means, and provision will be made for real-time

   monitoring using LiveNote or similar means. Plaintiff reserves the right to use this deposition

   for the purpose of mediation in this case.
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    Dated: April 21, 2020                            Respectfully Submitted,

    Michele D. Johnson*
    michele.johnson@lw.com                           /s/ Emily L. Pincow
    LATHAM & WATKINS LLP
    650 Town Center Drive, 20th Floor                Martin B. Goldberg
    Costa Mesa, CA 92626                             Florida Bar No. 0827029
    (714) 540-1235 / (714) 755-8290 Fax              mgoldberg@lashgoldberg.com
                                                     rdiaz@lashgoldberg.com
    Sarang Vijay Damle*                              Emily L. Pincow
    sy.damle@lw.com                                  Florida Bar No. 1010370
    Elana Nightingale Dawson*                        epincow@lashgoldberg.com
    elana.nightingaledawson@lw.com                   gizquierdo@lashgoldberg.com
    LATHAM & WATKINS LLP                             LASH & GOLDBERG LLP
                                                     100 Southeast Second Street
    555 Eleventh Street NW, Suite 1000
                                                     Miami, FL 33131
    Washington, DC 20004                             (305) 347-4040 / (305) 347-4050 Fax
    (202) 637-2200 / (202) 637-2201 Fax

    Andrew M. Gass*
    andrew.gass@lw.com
    LATHAM & WATKINS LLP
    505 Montgomery Street, Suite 2000
    San Francisco, CA 94111
    (415) 391-0600 / (415) 395-8095 Fax

    Jessica Stebbins Bina*
    jessica.stebbinsbina@lw.com
    LATHAM & WATKINS LLP
    10250 Constellation Blvd., Suite 1100
    Los Angeles, CA 90067
    (424) 653-5500 / (424) 653-5501 Fax

    Gabriel S. Gross*
    gabe.gross@lw.com
    LATHAM & WATKINS LLP
    140 Scott Drive
    Menlo Park, CA 94025
    (650) 463-2628 / (650) 463-2600 Fax

    *Admitted pro hac vice

                                  Attorneys for Plaintiff APPLE INC.



                                                 2
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                                  CERTIFICATE OF SERVICE

          I, Elana Nightingale Dawson, do hereby certify that on April 21, 2020 I caused a copy of

   the foregoing Second Amended Notice of Deposition of Alexander Stamos to be served via

   email upon:

    S. Jonathan Vine                                 David L. Hecht
    Justin B. Levine                                 Maxim Price
    Lizza C. Constantine                             Minyao Wang
    Michael Alexander Boehringer                     Conor B. McDonough
    COLE, SCOTT & KISSANE, P.A.                      HECHT PARTNERS LLP
    Esperante Building                               20 West 23rd St. Fifth Floor
    222 Lakeview Avenue, Suite 120                   New York, NY 10010
    West Palm Beach, Florida 33401                   dhecht@hechtparntersllp.com
    jonathan.vine@csklegal.com                       mprice@hechtpartnersllp.com
    justin.levine@csklegal.com                       mwang@hechtpartnersllp.com
    lizza.constantine@csklegal.com                   cmcdonough@hechtpartners.com
    michael.boehringer@csklegal.com




                                                       s/ Elana Nightingale Dawson
                                                       Elana Nightingale Dawson




                                                 3
